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PLAINTIFF’S CITIZENSHIP
MOUNTAIN VALLEY PIPELINE, LLC is deemed a citizen of all its members states.
On information and belief those states include: Pennsylvania, Florida, New
York, Delaware, Virginia, Texas, and Ohio.

DEFENDANT’S CITIZENSHIP
North Carolina
